        Case 4:21-cv-00033-ALM Document 4-3 Filed 02/09/21 Page 1 of 1 PageID #: 375

AO 399 (01/09) Waiver of the Serv ice of Summons




                                       United States District Court
                                                                         for the
                                                           Eastern District of Texas


                         Timothy Jackson                                      )
                               Plaintiff
                                                                              )
                                  v.                                          )    Civil Action No. 4:21-cv-00033
                        Laura Wright, et al.                                  )
                              Defendant                                       )

                                              WAIV ER OF THE SERVICE OF SUMMONS


To:   Jonathan F. Mitchell
             (Name of the plaintiff's attorney' or unrepresented plaintiff)


        I have received your request to waive service of a summons hi this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I. or the entity I represent, agree to save the expense of serving a summons and complaint hi this case.

         I understand that I. or the entity I represent, will keep all defenses or objections to the lawsuit, the court's
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

          I also understand that I. or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from                     01/14/2021                . the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so. a default judgment will be entered against me or the entity- 1 represent.

                                                                                   Matthew Bohuslav Digitally signed by Matthew Bohuslav
                                                                                                    Date: 2021.02.08 11:40:32 -06'00'
Date      January 21, 2021
                                                                                              Signature of the attorney or unrepresented party

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                        ofpartv waiving service of sun imons
                                                                                                         Matthew Bohuslav
                                                                                                                Piinted name
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                                                                                             Austin, TX 78711
                                                                                                                   Address

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                                                                                                               E-mail address

                                                                                                            512.475.4099
                                                                                                              Telephone number


                                             Duty to Avoid Unnecessary Expenses of Serving a Summons


          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be requir ed to pay the expenses of service, unless the defendant shows good cause for the failure.

           '"Good cause" does not include a belief that the lawsuit is groundless, or that it lias been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant's property.

          If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           Ifyou waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 1 2 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more tune to respond than if a summons had been served.


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